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                    UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF CONNECTICUT


 AURACLE HOMES, LLC; FD
 MANAGEMENT, LLC; BUCKLEY FARMS,
 LLC; ORANGE CAPITOL, LLC; 216 EAST                       Case No. 3:20-CV-829 (VAB)
 MAIN STREET MERIDEN, LLC; BD
 PROPERTY HOLDINGS, LLC; PRIME
 MANAGEMENT, LLC; AND, HABERFELD                          OBJECTION TO MOTION
 ENTERPRISES, LLC,                                        FOR LEAVE TO FILE AMICUS
                                                          BRIEF
          Plaintiffs,

 v.
                                                          JULY 17, 2020
 NED LAMONT

          Defendant.


       Plaintiffs hereby file this Objection to the filing of the Brief of Amici, by Greater

Hartford Legal Aid, et. al, and state as follows:

       On July 15, 2020 at 9:51 a.m., Plaintiffs’ counsel first received notice that several third

party organizations (hereinafter referred to as the “Housing Organizations”) were requesting

permission to file an amicus brief in support of the Defendant, and were seeking Plaintiffs’

position on said prospective filing. Plaintiffs’ counsel has been diligently working their

rebuttal which is due today.

       Later that same day, at approximately 6:30p.m., and prior to Plaintiffs’ counsel being

able to confer with their clients as to the third party request and to respond, the Housing

Organizations nonetheless filed their motion and prospective amicus brief.

       The amicus brief gives the Defendant an unjust advantage based upon its timing,

which is just 5 days before hearing on Plaintiffs’ motion. It was filed by 15 attorneys, any one
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of whom could have contacted Plaintiffs’ counsel since the filing of the complaint to notify

of their intent to file a brief but instead chose wait until the last minute, foreclosing the

Plaintiffs from any real opportunity to review and respond. The implied notions of fairness

and opportunity are ignored by the last-minute filing of this brief – ironically the same

concepts that these organizations claim to seek to protect.

       WHEREFORE, the Plaintiffs object to this court considering the amicus brief filed

by the Housing Organizations, as fairness and justice so dictate.

July 17, 2020                                 Respectfully submitted,

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                                             Attorneys for the Plaintiffs



                                     CERTIFICATION

I hereby certify that, on this date, a copy of the foregoing was filed electronically. Notice of
this filing will be sent by e-mail to all parties by operation of the Court's electronic filing
system. Parties may access this filing through the Court's system.

Dated: July 17, 2020                             /s/Craig C. Fishbein
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